     Case 3:14-cr-00025-NKM-JCH      Document 223        Filed 02/11/15   Page 1 of 1
                                     Pageid#: 824



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                       CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )            Case No. 3:14CR00025-06
                                              )
v.                                            )                    ORDER
                                              )
                                              )        By: Glen E. Conrad
JAMEL J. JACKSON,                             )            Chief United States District Judge
                                              )
             Defendant.                       )

       It appearing that the magistrate judge has submitted a report and

recommendation that the defendant=s guilty plea be accepted; and it further

appearing that no objections have been filed to said report and recommendation;

and it appearing proper, it is ORDERED that said report and the findings and

recommendation contained therein are hereby accepted in whole and the defendant

will be adjudged guilty of each offense to which the defendant entered a guilty

plea. Acceptance of the plea agreement is deferred, pending completion of the

presentence report.

       The Clerk is directed to send certified copies of this Order to all parties.

                                                  ENTER:     February 11, 2015

                                                  s/ Glen E. Conrad
                                                  Chief United States District Judge
